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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

         v.
                                                              Criminal Action No. 23-257 (TSC)
 DONALD J. TRUMP,

                 Defendant.


                                            ORDER

       Upon consideration of the parties’ Joint Status Report, ECF No. 229, and the oral

submissions during the September 5, 2024 status conference, the court hereby ORDERS:

A. General orders

   1. All pretrial deadlines, except as specifically provided by the court here and in its

       classified orders, are STAYED.

   2. In the interests of justice, the time beginning August 2, 2024 and continuing through

       October 24, 2024 shall be excluded from the computation of time under the Speedy Trial

       Act.

   3. The court’s August 3, 2024 Order, ECF No. 197, is AMENDED in part: The court

       vacates its denial without prejudice of Defendant’s Motion to Dismiss Based on Statutory

       Grounds, ECF No. 114; that Motion is reopened and the parties shall submit

       supplemental briefing on it as described below.

B. Pretrial schedule

       It is FURTHER ORDERED that the pretrial schedule shall include the following

deadlines, all of which are for 5:00 PM ET on the listed dates:



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   1. The Government shall complete all mandatory evidentiary disclosures, including those

      mandating by Brady, Giglio, Federal Rule of Criminal Procedure 16, and Local Criminal

      Rule 5.1, by September 10, 2024. Disclosure obligations remain ongoing thereafter.

   2. Defendant’s Reply briefs in support of his Motion to Compel, ECF No. 167, and Motion

      for an Order Regarding Scope of the Prosecution Team, ECF No. 166-1, are due

      September 19, 2024. The Reply briefs shall also identify any specific evidence related to

      Presidential immunity that Defendant believes the Government has improperly withheld.

   3. The Government shall file an Opening Brief on Presidential Immunity by September 26,

      2024. Defendant’s Response and Renewed Motion to Dismiss Based on Presidential

      Immunity is due October 17, 2024. The Government’s Reply and Opposition is due

      October 29, 2024. After briefing, the court will determine whether further proceedings

      are necessary.

   4. Defendant’s Supplement to his Motion to Dismiss Based on Statutory Grounds, ECF No.

      114, is due October 3, 2024. The Government’s Response is due October 17, 2024.

   5. Defendant’s Request for Leave to File a Motion to Dismiss Based on the Appointments

      and Appropriations Clauses is due October 24, 2024. The Government’s Opposition is

      due October 31, 2024. Defendant’s Reply is due November 7, 2024.



Date: September 5, 2024

                                               Tanya S. Chutkan
                                               TANYA S. CHUTKAN
                                               United States District Judge




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